                          DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
On April 30, 2010, Plaintiff filed its Complaint challenging the assessment of property, identified as Account R140731, for the 2009-10 tax year. On May 3, 2010, the court mailed Notices of Filing to the parties. The Notices stated that "[t]he defendant in this case is required to respond to the complaint within 30 days of the date of this notice. Failure to respond within 30 days may result in the case being decided for the plaintiff." Defendant did not file an Answer or otherwise appear in the case.
On June 8, 2010, the court sent a letter to the parties stating that, if by June 28, 2010, the court had not received either a motion for default from Plaintiff or an answer from Defendant, the court may dismiss Plaintiff's Complaint because Plaintiff failed to keep the matter moving forward through the court.
As of this date, the court has not received any further communication from either Plaintiff or Defendant. Consequently, the court finds this matter should be dismissed for want of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that this matter be dismissed.
Dated this ___ day of July 2010.
If you want to appeal this Decision, file a Complaint in theRegular Division of the Oregon Tax Court, by mailing to:1163 State Street, Salem, OR 97301-2563; or by hand delivery to:Fourth Floor, 1241 State Street, Salem, OR.
 Your Complaint must be submitted within 60 days after the dateof the Decision or this Decision becomes final and cannot bechanged.
 This document was signed by Magistrate Jeffrey S. Mattsonon July 9, 2010. The Court filed and entered this documenton July 9, 2010.